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EXHIBIT “A”

EXHIBIT “A”

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4 SUMMONS :"Srlurwwlm -
l D l " ’~d ` .Z.:
NoTrcE 'ro DEFENDANT(.CWAC ON JU ,CML) ' "DHTH CUU' -‘T l' mVlSl 15 5
(Avrso Ar. DEMANDADO}.~ ' RE€;E§V?}Z§;§" ?UIZ UEC ~3 P,"l 2: 35
CMRE FH\TANCIAL SERVICES, INC. _ \ l l ‘
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moran o t Sf“'lmy° wit-mt
LARRY L'HEURBUX

 

-r.-q.

Nok`)r~tlc€l You have been aued. The court may declde ag`alnst you without your bolng heard unless you respond wllhlrr 30 days. Read the lnfonnatlon
be

 

You have 30 CALENDAR DAYS after thlo summons and legal papers ore served on you to flle o wrtttan response at thls court and have a oopy
served on the plalntllf. A letter or none call wlll not protect you. Yuur wrltton response must be ln proper legal form ll' you want the court to hear your
caso. Thore may be a court form hat you can use for our response. You con tlnd these court forms and more lnlormatlon at the Collfornla Courts
Onltne Self»l'lel Conter (www,oourrlnro.oa.gov/solina p . your county law llbrary. or the courthouse nearest you. tr you cannot pay the illan rae, ask
the court clerk or a fee waluor torm. lt you do not nlo your response on tlma, you may lose the ouso by dolanlt. and your wages. money, and property
may be taken without furthermoran from the oourt.

Thero are other legal requlremontu. You may want to call an attorney right away. ll you do not know an attomay, you may want to call an attorney
referral oervlce. ll you cannot afford an attomey. you may be ellglblo for tree legal services from a noraprotlt legal services prooram. You can locate
these nonprofit groups et the Calttornla Lagol Servloos Web alta (www.law)relpcalilornlo.org), the Callfomla Oourls Onllne Self~Help Cenrer
{www.coudlnlo.ca.gov/sol/help). or by contacting your local court or county bar assoorution. NOTE: Tl'te court has a statutory lion ror waived fees and
costs on any settlement or arbllrallon award of 310.000 or more |n a olvll case. The court's lten must be patel before lhe court w|ll dlsmlss the oaso.
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(El nombre y c//r'ooolon do la oorto os).' Supertol' Court Of San Dlogo
325 South Molroso

Vista, CA 92081

The name, addroso‘ and telephone number of plaintiffs attorne , or plalntlff w|thout an attornoy, ls:
(El nombro, la dlrecolon y el ndmero do roléfono dol ubogado ol domandanle, o del demandele quo no done obogado, os):

Todd M. Friodman, 369 S. Doheny Dr., #415, Bovorly Hills, CA 90211, 877“206-4741`

 

 

 

CASE NUMEEH:
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DATE: Olertt, by l mpus
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(Forproofof son/loe of this summons, use Proof of Servloe of Summons (form POS-olt?).)

(Para pruoba de onlrega de usta citation use al formularlo Proof ol‘ SeNlco of Summons, (F‘OS~O'IO)).
NOTlCE TO THE PERSON SERVED; You are served

team 1. as an lndivldual defendant

2, [::] as the person sued under the fictitious name of {speclfy).`

CMRE FlNANClAL SERV|CES, lNC

 

3, l:§il on behalf of rspacilw:

warren EZIJ cop 416.10 (Qorp<>rarron) [;_'j ooP 416.60 rmln<>r)
l::] CCP 416.20 (defur\ol corporatlon) __ l CCP 416.70 (oonservatee)
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Toda M. newman (216752) ' '
Nicholas J. Bontrager (2-52114) 'Zm?. NOV "' \ Pl"l 3: 55

Suren N. Weerasuriya (278512)

Law Offices ofTodd M. Friedman, P.C. , i :.‘. ,___Up».c“~.\g;_ mims
369 S. Dvheny Dr- #415 ';i;'\'r¢"r§¢§so cw.¢z$w. cA
Beverly Hills, CA 90211

Phone: 877-206-4'741

Fax: 866-.633~0228 .
tfriedman@attomeysforconsumers.com
nbontrager@attorneysforcoxxsumers.com
sweerasuriya@attorneysforconsumers.com
Atiorney for 1’laini1'i`f

S`UPERIOR COURT OF THE STATE OF CALIFORNIA
FOR TI'IE'COUN'I,‘Y OF'S`A"NDIEGO"` """ "`“" " '
LIMITED JURISDICTION

Case No.:zv.zmz»ooosaam-c\__~v.nc

COMPLA.INT FO`R 'VIOLATION

OF ROSENTHAL FAIR DEBT
COLLECTICN PRACTICES ACT AND
FEDERAL FAIR DEBT COLLECTION
PRACTICES ACT

LARRY L’HEI)REUX ,
Pzaimiff,
vs.

CMRE FINANCIAL SERVICES, INC. (Amount not to exceed $10,000)

1. `Violation of Rosenthal Fajr Debt
Collection Pract:ices Ac‘t

2. Violation of Fair Debt Co]lection
Pra.otlces Act

3. Viola£ion of Telephone Consumer
Proteoti on Act

I)efendant.

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I. INTRODUCTION

1. This is an actlon for damages brought by an individual consumer for Defendant’s
violations of the Rosenthal Fair Debt Collection Praotlces Act, Cal Civ Code §1788, et seq.
(hereinafcer “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C, §1692, el saq.
(hereinafter “FDCPA”), both of Which prohibit debt collectors from engaging in abusive,

deceptive, and unfair practices. An{:il]ary to the claims above, Plaintiff furlher alleges claims

Cumplafnt ~ l

 

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for Defendant’s violations of the 'l`elephone Consumer Protection Act., 47 U.S.C. §227, et seq.
(hereiuafter “TCPA”).
II. PARTIES

2. Plaintift', Larry L’Heureux (“Plaintift"), is a natural person residing in San
Diogo eoonty ln the state of Califomja, and is a “consumer” as defined by the FDCPA, 15
U.s.c. §1692@.{3) ana is a “debcor” gs defined by cal civ code §1738.2(h).

3. At all relevant times llerein, Defendant, CMRE Fin_ancial Servlces, Inc.
(‘°Defendant") was a company engaged, by use of the mails and telephone, in the business of
collecting a debt from Plalntiff Which qualities as a “debt,” as defined by 15 U.S.C. §l692a(5),
and a “consumer debt,” as defined by Cal Civ Code §1788.2®. Defendant regularly attempts
to collect debts alleged to be due another, and therefote is a “debt collector” as defined by the
FDCPA, 15 U.S.C. §l692a(6), and RFDCPA, Cal Civ Code §1788,2(<:}.

III. FACTUAL ALLEGATIGNS

4. At various and multiple times prior to the filing of the instant complaint,
including Withi_n the one year preceding the filing of this complaint, De:l`enclaot contacted
Plaintiff in an attempt to collect an alleged outstanding debt.

5. lo or around January 2012, Defendant began numerously contacting Plaintiff
and leaving blm pre-recorded voice-messages in attempting to collect an alleged outstanding
debt that PlaintiH` does not believe he owes. Speciiically, in or around November 2011,
Plaintiff underwent an MRI after providing the entity taking his MRI with his proper health
insurance infomlation; Plaintll"f is ioformecl and believes the MRI is a procedure jillly covered
under this health insurance and that any lapse in coverage is supplemented by his Medicare

coverage

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6. In cr around May 7, 20l2, I’laintill' e-mailed Defendant at
cg,<stomeg;service@cmre§i.g_om, with scanned, color images of his Medicarc and private healtlt
insurance cards, after a representative of Dcfendant claimed that it did not have such
information on hand and was contacting Plaintiff to obtain it. l-lowever, Plaintlff continued
receiving calls and pcssibly, pre-recorded voice~messages from Defendant, alter lvlay 07, 2012.

7. Shoi'tly thereafter, Plaintiff called and informed Dcfendant that he had sent
Defendant all nccessary_doctunents on May 0?, 2012; in response Defendant confirmed that it
had received such documents through Plaintiff’s May 07, 2012 e~mail. However, Det`cndant
called Plaintiff again on l\/Iay 22, 2012.

8. Plaintlff is informed and believes that in many instances, Det`endant used an
automated dialing system to call his cell phone, Without his express prior consent

9. Det`endant generally called Plaintiff from (760)827~0253, concerning reference
number 21007062.

lO. Defcndant’s conduct:violated the FDCPA and the RFDCPA in multiple Ways,
including but not limited to:

a) Causing a telephone to ring repeatedly or continuously to annoy
Plaintiff (Cal Civ Code §1788.l l(d));

b) Communicating, by telephone or in person, with Plalntiff with such
frequency as to be unreasonable and to constitute an harassment to
Plaintlff under the circumstances (Cal Civ Code §178 8.1 l(e));

c) Causing PlaintiHs telephone to ring repeatedly or continuously with
intent to harass, annoy or abuse Plaintiff' (§l692d(5));

d) Comrnunicating Witb Plaintiff at times or places which Were known
or should have been known to be inconvenient for Plaintiff

(§1692¢(&)(1>);

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e) l"`alsely representing the oharacter, amount, or legal status of
Plaintiff’s debt (§1692e(2)(A));

t) Using false representations and deceptive practices in connection
With collection of an alleged debt from Ple.intiff(§1692e(10);

ll. Defendant’s conduct violated the 'I`CPA by:
e) using any automatic telephone dialing system or an artificial or pre~recorcled
voice to any telephone number assigned to a paging serviae, cellular telephone

Service, specialized mobile radio service, or other wdio common carrier service,
or any service for which the called party is charged for the call (47 USC

§227(b)(A)(ili)).
12. As a result of the above violations of the FDCPA, RFDCPA, and TCPA,
Plaintiff suffered and continues to _sui`fer injury to Plaintift"s feelings, personal humiliation,
embarrassment mental anguish and emotional distress, end Defendant is liable to Plainti€t" for

Plaintiff"s actual demages, statutory damages, and costs and attomey’s fees.

COUNT I: _VIOLATION Oll' ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

WWW
13. Plaintiff reinooq)orates by reference all oftl:ie preceding paragraplis.
14. To the extent that Defendant’s actions, counted above, violated the RFDCPA,

those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORB, Plaintiff respeotlillly prays that judgment be entered against Defenclant
for the following l

A. Actual damages;

B Statutory damages for willful and negligent violations;
C. Costs and reasonable attomey’s fees,

D

For such other and further relief as may be just and proper.

Comp|aint ~ 4

 

 

 

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15.

WHEREFOKE, Plawtlff respectfully prays that judgment be entered against Defendant

COUNT II: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT

Plaintlff reinootporat'ea by reference all of the preceding paragraphs

PRAYER FOR RELIEF

for the following

16,

17,

A. Aotual damages;

B Statutory damages;
C. Costs and reasonable attomey's fees; and,
D For such other and further relief as may be just and proper.

COUNT III: VIOLATION OI.<` TELEPHONE CONSUMER
PROTECTIQN ACT

Plaintiff reinoorporates by reference all of the preceding paragraphs

'l`o the extent that Defendant’s actions, counted above, violated the TCPA, those

actions were done knowingly and willfully

WHEREFOR.E, Plaintiff respectfully prays that judgment be entered against the

PRAYER FOR R.ELIEF

Det`endant for the following

A. Actual damages;

B Statntozy damages for Wlllful and negligent vlolations;
C. Costs and reasonable attomey’s fees; and

D

For such other and further relief as may be just and proper.

Comple.lnt - 5

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PLA.U\ITIFF HEREBY REQUESTS A TRI'AL BY .TURY’; ';:' - ’ ~
Resf)ectf\\lly,submitted this October 29
. By:

road M. Fnedman, Esq - "
Law Offloes of Todcl M Friédman, P.C.

Attofney for Flaintiff

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PROOF OF SERVICE
STATE OF CALIFORNIA _)
) ss.
COUNTY OF LOS ANGELES )

l am employed in the County of Los Angeles, State of California.

l am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Ccntury Blvd., Suite 1214, Los Angelcs, CA 90045.

On January 9, 2013, I served the foregoing document(s) described as: CIVIL COVER

SHEET; NOTICE OF REMOVAL on all interested parties in this action by placing a true copy
thereof enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices ofCarlson & Messer LLP. l am "readily familiar"
with the business practices of Carlson & Mcsser LLP for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence would
be deposited with the United States Postal Service at Los Angelcs, California this same day in
the ordinary course of business with postage thereon fully prepaid

ELECTRONIC MAIL: Based on Court order or an agreement of the parties to accept service
by c-mail or electronic transmission, l caused the said documents to be sent to the persons at the
electronic mail addresses listed below (See attached service list). l did not receive within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful

PERSONAL SERVICE BY HAND: I personally served such document to address Stated on
POS Service List.

BY FACSIMILE- l transmitted via telecopier machine such document to the offices of the
addressees

(STATE) - l declare under penalty of perjury under the laws of the State of California that the
above is true and correct

(FEDERAL) ~ l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executcd this 9th day of January, 2013, at Los Angcles, California.

aaa I. aaa
yathryn/§. Brown

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PROOF OF SERVICE

 

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1 L’Heureux. Larrv v. CMRE Financial Services. Inc.
File No.: 99999.10
2
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